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                                                                                             CLOSED
                           U.S. District Court
                Southern District of Florida (Ft Lauderdale)
     CRIMINAL DOCKET FOR CASE #: 0:18−mj−06389−PMH All Defendants

    Case title: USA v. Cardozo                               Date Filed: 08/23/2018
                                                             Date Terminated: 08/27/2018

    Assigned to: Magistrate Judge Patrick M.
    Hunt

    Defendant (1)
    Byron Cardozo                              represented by Noticing FPD−FTL
    19068−104                                                 (954) 356−7436
    YOB 1984 English                                          Email: ftl_ecf@fd.org
    TERMINATED: 08/27/2018                                    LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Public Defender
                                                              Appointment

    Pending Counts                                            Disposition
    None

    Highest Offense Level (Opening)
    None

    Terminated Counts                                         Disposition
    None

    Highest Offense Level (Terminated)
    None

    Complaints                                                Disposition
    18:U.S.C.§2261A(2)(B)CYBERSTALKING
    and 18:U.S.C.875(c) INTERSTATE
    THREATS



    Plaintiff
    USA                                        represented by Jodi Anton
                                                              U.S. Attorney's Office
                                                              500 E. Broward Boulevard
                                                              Suite 700
                                                                                                      1
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                                                                Fort Lauderdale, FL 33394
                                                                954−660−5692
                                                                Fax: 954−356−7336
                                                                Email: jodi.anton@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Retained

    Date Filed   # Page Docket Text
    08/23/2018   1    3 Magistrate Removal of Indictment from DISTRICT OF MASSACHUSETTS
                        Case number in the other District 18−CR−10251 as to Byron Cardozo (1). (at)
                        (Entered: 08/23/2018)
    08/23/2018   2   15 Order to Unseal as to Byron Cardozo re 1 Magistrate Removal In. (Signed by
                        Magistrate Judge Patrick M. Hunt on 8/23/2018). (at) (Entered: 08/23/2018)
    08/23/2018       16 Arrest of Byron Cardozo (at) (Entered: 08/23/2018)
    08/23/2018   3   17 Minute Order for proceedings held before Magistrate Judge Patrick M. Hunt:
                        Initial Appearance in Rule 5(c)(3)/Rule 40 Proceedings as to Byron Cardozo held
                        on 8/23/2018. Court signed order to unseal Indictment. Detention Hearing set for
                        8/28/2018 AT 10:30 AM in Fort Lauderdale Division before FTL Duty
                        Magistrate. Removal Hearing set for 8/28/2018 AT 10:30 AM in Fort Lauderdale
                        Division before FTL Duty Magistrate. Report Re: Counsel Hearing set for
                        8/27/2018 AT 11:00 AM in Fort Lauderdale Division before FTL Duty
                        Magistrate. (Digital 11:12:27) (Signed by Magistrate Judge Patrick M. Hunt on
                        8/23/2018). (at) (Entered: 08/23/2018)
    08/23/2018       18 Reset Hearings as to Byron Cardozo: **TIME CHANGE ONLY** Detention
                        Hearing RESET for 8/28/2018 AT 10:00 AM in Fort Lauderdale Division before
                        FTL Duty Magistrate. Removal Hearing RESET for 8/28/2018 AT 10:00 AM in
                        Fort Lauderdale Division before FTL Duty Magistrate. (at) (Entered: 08/23/2018)
    08/24/2018   4   19 NOTICE of Filing Factual Proffer in Support of Pretrial Detention by USA as to
                        Byron Cardozo (Attachments: # 1 Exhibit Factual Proffer) (Strauss, Jared)
                        (Entered: 08/24/2018)
    08/27/2018   5   24 Minute Order for proceedings held before Magistrate Judge Barry S. Seltzer:
                        Report Re: Counsel Hearing as to Byron Cardozo held on 8/27/2018. Deft signed
                        waiver of removal the court entered commitment to another district. Attorney
                        added: Noticing FPD−FTL for Byron Cardozo (Digital 11:06:30 /
                        11:23:46−11:27:05) Signed by Magistrate Judge Barry S. Seltzer on 8/27/2018.
                        (tw) (Entered: 08/27/2018)
    08/27/2018   6   25 WAIVER of Rule 5(c)(3)/Rule 40 Hearing by Byron Cardozo. (tw) (Entered:
                        08/27/2018)
    08/27/2018   7   26 COMMITMENT TO ANOTHER DISTRICT as to Byron Cardozo. Defendant
                        committed to District of District of Massachusetts.. Closing Case for Defendant.
                        Signed by Magistrate Judge Barry S. Seltzer on 8/27/2018. See attached
                        document for full details. (tw) (Entered: 08/27/2018)




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                                UNITED STATES DISTRICT C OU RT
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      UN ITED STATES OF AM ERICA                      Cn'm N o   ttôw Sozft
                                                      18U.S.C.j2261A(2)(B)(Cyberstalking)
                                                                                                >
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      BY RON CARDOZO ,                                18U.S.C.j875(c)(InterstateThreats)        U
             Defendant                                18U.S.C.j981(a)(1)(C)& 28U.S.C.
                                                      92461(CriminalForfeiture)

                                                       /f-$-5çy-/A                         -
                                              INDICTM ENT
     n e Gm nd Jury charges:

                                               Backzround

     Atal1timesrelevantto this Indictm ent:

                   D efendantBY RON CARDOZO resided in the M iddle DistrictofFlorida.
            2.     JaneDoe 1resided in the DistrictofM assachusetts.She was aphotop apherand

     writcrand posted photographsand/orarticlesin O nline M agazine A and on W ebsite B.

            3.     In 2001,when he wasapproxim ately 17 yearsold and attending high school,

     CARDOZO m etJane D oe 1. Jane Doe 1was approxim ately 13 yearso1d atthe tim e and

     attended the m iddle schoolon the shared cam pusoftheirprivate schoolin Florida. CARDOZO

     pursued a sexualrelationship w ith Jane Doe 1.




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                    OnlineM agazine A wasan onlinepublisherofarticles,including essays,reports,

     and interview s. Readerscould postonline ççcomm ents''in the ççcom m ents''section associated

     with an article.

            5.      W ebsite B w asa website created by Jane Doe 1thatfeatured herphotographsand

     written matelials. W ebsite visitors could postonline ççcom ments''in the 'Yom m ents''section.

                    As setforth below,forapproxim ately 18 m onths,from in oraboutFebruary 2017

     tluough the dateofthis IndicM ent,CARDOZO,using variousonlineplatform s,including

     Facebook,Twitter,and the çlcom m ent''sectionsof Online M agazine A and W ebsite B,engaged

     in acyberstalking and interstatethreatscam pair targeting Jane Doe 1.

            7.      CARDOZO continued to harassand threaten Jane Doe 1 despite the factthatshe

     had obtained a state courtorderin April2017,forbidding CARDOZO from com m ldnication with

     her.

                                 H arassing and Threatening Com m unications

            8.      In late 2016,Jane Doe 1wrote,and then had published in Online M agazineA ,an

     essay describing alallm atic sexualencotmterthatshe had with CA RDOZO when shtm et

     CA RD OZO in person forthe srsttim e,in orabout2001. Jane D oe 1published the essay using

     herown nam e butused pseudonym s forCA RDOZO and theothersinvolved.

            9.      Shortly aherthe articlcw aspublished,CARDOZO launched a m ulti-faceted

     cyberstalking and threats campaign againstJane Doe 1. CARDOZO sentJane Doe lhundreds

     ofmessagesusingpseudonm sandfakesocialmediaaccounts.CARDOZO postedthemajority
     ofM sanonm ous messages in the ççcom m ents''sectionsofOnline M agazine A and W ebsite B.




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               10,   Tbrough these com m unications,CA RDOZO claim ed thatJane Doe 1had

     fabricated herclaim saboutthe coercive nature ofthe 2001sexualencotmter,provided graphic

     descriptionsofhispurported consensualsexualencounterw ith Jane Doe 1,and described how

     he m asturbated to Jane Doe 1'sphotographs. CA RDOZO m adeexpressand im plicitthreatsto

     injureJaneDoe1.Atothertimes,CARDOZO alsoapologizedtoJaneDoe1forthetraumatic
     sexualexperience in 2001,M ked forforgiveness,expressed hislove forJane Doe 1,and m ade

     veiled threatsto com m itsuicide'çbecause ofyou.''

                     A sCARDOZO 'Sm essagesto Jane D oe l increased in frequency,Jane Doe l

     reached outto legalauthorities forassistnnce and protection. CARDOZO responded w ith

     increasedthreats,includingadditionalexpressandimpliedthreatstoinjureJaneDoe1,
               12.   Forexnmple,on oraboutFebruary 23,2018,CA RDO ZO posted a com m enton

     OnlineMagazineA thatstated,inpart:lçKeepdiggingyou(sic)gravedeeperanddeeperwith
     each and every lie.''

               13.   O n oraboutM arch 3,2018,CA RDOZO posted a com menton Online M agazine

     A thatstated,inpart:çç(l)W ILLHAUNT YOU FOR THE REST 0FYOUR PATHETIC LIFE.
     . . .   (AM 1)M AKING (MYSELF)CRYSTAL CLEAR?''andcontinued,STW EARE
     W A ITIN G.''

               14.   On oraboutM arch 22,2018,CARDOZO posted acom m enton Online M agazine

     A thatstated,in part: çW sm uch as llove you Ican do thistmtilthe day Idie. You destoyed

     anyhopeIhadtohavejustamerefriendshipwiththatM gel(believedtobeareferencetoa
     friendofJaneDoe1thathadarelationshipwithCARDOZO)becauseofthisGOOD FOR YOU
     butnow 1have nothing leR to lose.''


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            15.   On oraboutApril3,2018,ahera representative ofJane Doe 1notified legal

     authoritiesaboutthe troubling com m unications described above,CARDOZO posted a com m ent

     onOnlineMagazineA thatstated,inpart:'tim Esic)goingtosxyou(frstnameofJaneDoe1)'
     whetheryoulikeitornot,youstartedthisbullshitnow lets(sic)inishit.''Hecontinued,ççl
     CAN 'T A LLOW Y OU TO D O THAT ...1'11beatyourassin thisgam e ofchess ...1'11beat

     you tillyou'rew riting H aiku ...IM CUM M IN O UT YOUR SOCKET N OTH ING YOU CAN

     D0 TO STOP ...M Y W M TH RU NS COLD I'LL BEAT YOU IN 17 Lm ES OF POEM ..

     H ASTA LA V ISTA ..''

            16.   O n oraboutApril13,2018,CA RDOZO posted a com m enton Online M agazine

     A thatstated,inpart: 6tIW ISH (pseudonym forCARDOZO usedinJaneDoe1'sessayjIIAD
     RAPED YOU R LY IN G BITCH ASS I'
                                    IAH AI-IA EIAHA,''and then 'çIH OPE SOM EON E DOES

     FUCKTN G RAPE THE SH IT OUT O F YOU FOR W H AT YOU IIAV E DONE TO M E Y OU

     FUCM NG BITCH,''CCBEST BELIEVE ILL (sic)NEVER FORGET THISEVER FOR THE
     REST 0FYOUR SAD FUCKING HOMOSEXUALLYW G LIFE ILL (sic)FUCKING
     HAUNT YOU BITCH,''CCILL (sic)NEVER GO AW AY YOULL (sic)ALW AYSHAVET0
     LOOK OVER YOU SCARED SHOULDER HAHAHAHAHAJ 'IYOU FUCKING LIED
     A BOUT M E AN D THEN TRIED TO HAV E M E ARRESTED?????? FUCK Y OU YOU FUCK

     CUNTTILL (sic)THE DAY IDAY ILL (sic)FUCKING REMIND YOU W HAT A LYING
     PIECE OF FU CKIN G SH IT Y OU ARE ...N O FA GGOT ATTORNEY OR AM OUNT OF

     YOUR FAMILYS (sic)M ONEY W ILL SAVEY0U BITCH,''HNEVER W ILLISTOPAS
     LONG A S TH IS FUCKIN G SH IT EXISTS Y OU HEA R M E BITCH NEV ER ...1LOV E YOU

     SO M U CH ...ido love you ...ialw ayshave and ialwaysw i1l.''


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            17.    O n oraboutApril14, 2018,CARDOZO posted a com m enton Online M agazine

     A thatstated,inpart:t'did iplaythepartofyourimaginary rapistgood enouglo?'
                                                                              ?? im looking

     atyourpicturesrightnowjackingoffabouttobustahugenuttoyourstoryonceagainLOL                      . . .   i
     am aRerallyourççstalker''in every way one can im agine yes???? . .   .
                                                                              There!!!thats(sic)
     (pseudonm forCARDOZO usedinJaneDoe1'sessay)therapistright?????. . . Ican be your
     (pseudonm forCARDOZO usedinJaneDoel'sessay)babygirlsecretscanbefun!!!!''
            18.    Onthesanw date,CARDOZO posted acommenton OnlineM agazineA that

    stated,inpart: 6'lpseudonm forCARDOZO usedinJaneDoe1'sessay) IS FUCKING 33you
    crazypsychohahahahahahtheMAN TIIAT M PED YOU IS3YEARSOLDER THEN (sic)
    YOU HAHAHAHAHAHAHAHAHAHA GodyouaresoFULL OF SHIT (JaneDoe'sfirst
    name)lCANT (sic)FUCKING STAND IT!!!!!''
                  OnoraboutApril16,2018, CARDOZO postedacommenton OnlineM agazine

    A thatstated,inpart: ççijustbustedthebiggestnuttothepictureofyou           .. .   ipicture you waiting
    begging form y seed to fillyourmouth . . . See...??? icanplayyour(pseudonym for

    CARDOZO usedinJaneDoe 1'sessay) ...Icanbeexactlywantyouhavemadeupinyour
    m ind aboutm e alltheseyears.''u'rhisiswhatyou want, rightl
                                                              o'?? ...1CAN BE THAT FOR
    YOU (JaneDoe'sfirstname)1W ILL BE THAT FOR YOU             , . .   1LL (sic)GIVE YOU
    EX ACTLY W H AT YOU W ANT SW EET GURL . . . Fuck the only thing iregretaboutthatday

    wasnotm aking you sw allow m y cum baby girl. . . then myDNA wouldhavebeen apart(sicqof

   you forEVER .,.:9

                  On oraboutApril17,2018, CA RDOZO posted acom m enton Ozlline M agazine

   A thatstated,in part: tçw e willshow you exactly whathappenswhen you cry'wolf. . . HOW


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     FUCG G DA RE YOU Y OU HAV E JU ST W OKE TH E D M GON EVEN W ORSE BABY

     GIRL A HAH AHAHA .''

           21.    On oraboutM ay 21, 2018,aherarepresentativeofJaneDoe lnotifiedlegal

     authoritiesofCARDOZO'Scontinued comm unications, CARDOZO posted a com m enton

     W ebsiteB thatstated, inpart: ''
                                    Y ou fucking bitchkeep itup andyouwillknow whatitmeansto
    be assaulted.'' ''You are fucking done Idare you to keep pulling thisshitIFU CKIN G DARE

    YOU BITCH Y OU W ILL KN OW FEAR TRU ST M E BY THE TIM E THIS SHIT IS OV ER

    YOULL (sic)BE W ISHING YOU JUST IGNORED IT '' ''Y ouwillfucking5nd outwhat
                                                        .


    happenswhenyoucry wolfbitch.''

           22.   On oraboutJuly l0, 20l8,CARDOZO posted acommenton W ebsiteB that

    stated,inpart:t'hearmenow (frstnameofJaneDoe1J, iwilldevotemym iserablelifeto
    deskoyingyoursforwhatyouhavedont(sic)yousickGodlessbitch W riter,Photop apher,&
                                                                    ...


    AmateurM agicianandbitch fullofshitihopeyou send sealtesm 6tokillmebeca
                                                                           use you have
    noideawhoyouhavejustfuckedwithlittle#rl.''




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                                               CO UN T O NE
                                          18U.S.C j2261A(2)(B)
                                             (Cyberstalking)
            n e Grand Jury re-alleges and incorporatesby reference the allegations in paragraphs 1-

     22 ofthisIndictmentand chargesthat:

            23.     From in oraboutFebruary 2017 through in oraboutAugust2018, in the District

     ofM assachusetts,and elsewhere, defendant

                                          BY RO N C AA BO ZO ,
     w ith intentto harass and intim idate, used an interactive computerservice and an electronic

     conmwnicationsserviceand electroniccommllnication systemsofinterstatecommerce and any
                                                                                            ,

    otherfacility ofinterstate and foreign com m erce, specifk ally online postings,to engage in a

    course ofconductthatcaused,attem pted to cause, and would be reasonably expected to cause

    substantialem otionaldistessto Jane Doe 1.

            A 1lin violation of 18 U .S.C.j2261A(2)(B).




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                                             CO UNT TW O
                                             18USC j#75(c)
                                           (InterstateThreats)
            The Grand Jury re-allegesand incom oratesby reference pam graphs 1-22 ofthis

     Indictm entand furtherchargesthat:

            24.    O n oraboutM ay 21, 2018,in theDisd ctofM assachusetts
                                                                            ,   and elsewhert,
     defendant

                                          BY RO N CAR DO ZO ,
     u owinglyandwillfully % nsmitted in interstateandforeir commerc
                                                                    e acom m unication
     containingathreattoinjurethcpersonofanother, forthepup oseofissuingthetk eat, knowing
    thatitwould beinterpreted asathreat, and recklessly disregarding tlw risk thathis

    communicationwould beinterpreted asathreat, speciscallythecomm enton W ebsiteB as

    described inParagaph 21ofthislndictment.

           A11in violation of18, U.
                                  S.C.9875(c).




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                                   FO RFEITUQ E AI,LEG ATION
                          (18U.S.C.j981(a)(l)(C)and28U.S.C.52461(c))
                   Upon convictionoftheoffensesetforth in CountTwo ofthisIndictment,

                                        BYRO N CA RDO ZO ,
      defendantherein,shallforfeitto theU nited States,pursuanttoTitle 18,United StatesCode
                                                                                              ,

      Section981(a)(1)(C),andTitle28,UnitedStatesCode, Section2461(c),anyproperty,realor
     personal,which constimtesorisderived from proceedstraceableto theofense.

                  Ifanyofthepropertydescribed in Param ph 1, above,asbeing forfeitable

     pursuantto Title 18,Urlited StatesCode, Section981(a)(1)(C),andTitle28,UnitedStates

     Code,Section246l(c),asaresultofanyactoromissionofthedefendant         -



                  a. cannotbelocated upontheexerciseofduediligence;

                  b. hasbeen transferred orsold to, ordeposited with,a third party;

                  c. hasbeenplacedbeyondthejurisdictionoftheCourt;
                  d. has been substantially dim inished in value;or

                 e. hasbeen comm ingled with otherproperty which clm notbe divided without
                    diffkulty;
    itistheintention oftheUnited States, pursuantto Title28,United StatesCode
                                                                               ,   Section2461(c),
    incorporating Title 21, UnitedStatesCode,Section853û9,toseekforfeitureofanyother

    propertyofthedefendantup tothevalueoftheproperty describedinPnmgraph labove.

          Allpursuantto 18 U .S.C . j98l(a)(l)(C)and28U.S.
                                                         C.j2461(c).




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     AlziyHarm    urkart
    AssistantU ited StatesAttom ey
    M ona Sedky
    Departm entofJustice SeniorTrialAttom ey
    ComputerCrim e& IntellectualProperty Section



    DISTRICTOFMASSACHUSETTS#fW                pR ur st7, 2018
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      UNITED STATES OF AM ERJCA
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                                                    l8U.S.C.92261A(2)(B)(Cyberstalking)
      BYRON CARDOZO,                                18U.S.C.j875(c)(Interstate'rhreats)
             Defendant                              18U.S.C.j981(a)(1)(C)& 28U.S.C.
                                                    92461(CriminalForfeittlre)

                                                      /f-J.5f/-
                      GO VER NM ENT'S M O TIO N TO SEAL INDICTM EN T
            Pursuantto Fed.R.Crim . P.6(e)(4),theUnitedStatesofAmericaherebymovesthis

    Courttodirectthattheindictmentbesealed landthatnopersonshalldisclosetheretum ofthe
    indice entexceptwhennecessaryfortheissuanceandexecutionofawarrant)untilthe
    defendlntis in custody in the above-captioned case.

           The United Statesfurtherm oves, pursuantto GeneralOrder06-05,thatthe United States

    Attorney,tk ough undtrsigned counsel, be provided copiesofa1lsealed docum entsthatthe

    United Stateshasfiled in thismatter.

                                                        Respectfully subm iled,

                                                      AND REW E.LELLIN G
                                                      United S tesAttom ey

                                                  By:
                                                       a ' J. 'Addio
                                                         y H .Burkart
                                                      AssistantU.S.A ttom eys

                                                      Date: A ugust7,2018
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                          UNITED STATES DISTRICT CO URT
                          SOUTHERN DISTRICT O F FLORIDA
                               CASE NO.18-6389-Hunt



  UNITED STATES O F AM ERICA,
                Plaintiff,

 VS


  Byron Cardozo,
                Defendantts)
                                    /

                                            O R D ER

         THIS CA USE is before the Courtforthe initialappearance ofthe above-nam ed

 defendantts)on a Indictment.
         UPO N ORAL m otion ofthe governmentin open coud thatthe case be unsealed,

 itis hereby

         ORDERED AND ADJUDG ED thatthe SEALED INDICTM ENT be unsealed as to

 alIparties.

         DO NE A ND O RDERED at Fod Lauderdale, Florida this 23rd,day of August,

 2018.




                                            PATRICK M .HUNT
                                            UNITED STATES MAG ISTRATE JUDG E


 cc:AIICounselofRecord




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    MIME−Version:1.0
    From:cmecfautosender@flsd.uscourts.gov
    To:flsd_cmecf_notice
    Bcc:
    −−Case Participants: Jodi Anton (caseview.ecf@usdoj.gov, jason.bullard@usdoj.gov,
    jennifer.m.smith2@usdoj.gov, jodi.anton@usdoj.gov), Magistrate Judge Patrick M. Hunt
    (hunt@flsd.uscourts.gov)
    −−Non Case Participants:
    −−No Notice Sent:

    Message−Id:17912790@flsd.uscourts.gov
    Subject:Activity in Case 0:18−mj−06389−PMH USA v. Cardozo Arrest
    Content−Type: text/html

                                              U.S. District Court

                                          Southern District of Florida

    Notice of Electronic Filing


    The following transaction was entered on 8/23/2018 at 12:33 PM EDT and filed on 8/23/2018

     Case Name:       USA v. Cardozo
     Case Number:     0:18−mj−06389−PMH
     Filer:
     Document Number: No document attached
    Docket Text:
    Arrest of Byron Cardozo (at)


    0:18−mj−06389−PMH−1 Notice has been electronically mailed to:

    Jodi Anton &nbsp &nbsp jodi.anton@usdoj.gov, CaseView.ECF@usdoj.gov, jason.bullard@usdoj.gov,
    Jennifer.M.Smith2@usdoj.gov

    0:18−mj−06389−PMH−1 Notice has not been delivered electronically to those listed below and will be
    provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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      Case 0:18-mj-06389-PMH
                 Case 0:18-mj-06389-PMH
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                                                                       Page 1 of Page
                                                                                 1    17 of 26
                                   COURT M INUTES/ORDER
                    United States M agistrate Judge Patrick M .Hunt
                                                                                Date: 08/23/18 Time:11:00
Defendant:Byron Cardozo                        J#:              Case #: 18-6389-Hunt

AUSA:Jared Strauss(JodiAnton Duty)                       Attorney:
Violation:          Cyberstalking
Proceeding: lnitialAppearance Rule 5                               CJA Appt:
Bond/PTD Held: &Yes         r-No         Recommended Bond:
Bond Setat:                                                         Co-signed by:
 r'
  r'
   l Surrenderand/ordo notobtain passports/traveldocs                        Language'
                                                                                     .
  c
        Reportto PTSas directed/or       x'saweek/month by                   Disposition:
        phone:       x?saweek/monthinperson                                  Ajjpartiespresent.
  7
        Random urine testing by PretrialServices
        Treatmentasdeem ed necessary                                         Courtsigned Orderto unsealthe
  '     Refrain from excessive use ofalcohol
                                                                             indictm ent.
  r Participate in m entalhealth assessm ent& treatm ent
 r-
  r
  -l Maintainorseekfull-timeemployment/education                             Deftadvised ofhisrightsand charges.
     Nocontactwithvictims/witnesses
  r No firearm s
        Notto encum berproperty
 r'
  r-) Maynotvisittransportationestablishments
   r-
        HomeConfinement/ElectronicMonitoringand/or
        Curfew             pm to         am ,paid by
        Allow ances:M edicalneeds,courtappearances,attorney visits,
        religious,em ploym ent
 r-
  r-l TraveIextendedto:
 r'-l Other:
 NEXT COURT APPEARANEE     oate:                Tim e:            Judge:                           Place:
 ReportRECounsel: 08/27/18                     11:00 a.m .        Seltzer                        FTL
 PTD/BondHearing: 08/28/18                      10:30 a.m .       Seltzer                        FTL
 Prelim/ArraignorRemoval: 08/28/18              10:30 a.m.         Seltzer                        FTL
 StatusConference RE:
                The motion to continue to permitthe defendant to hire counselis GRANTED.R e time from te ay through the
 Check if       rescheduled date isexcluded from the deadline fortrialascomputed underthe Speedy TrialAct since the endsof
                .
 Applicable: C justiceservedbygrantingthiscontinuanceoutweightheinteren ofthedefendantandthepublicinspeedytri
                                                                                                            al.
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    MIME−Version:1.0
    From:cmecfautosender@flsd.uscourts.gov
    To:flsd_cmecf_notice
    Bcc:
    −−Case Participants: Jodi Anton (caseview.ecf@usdoj.gov, jason.bullard@usdoj.gov,
    jennifer.m.smith2@usdoj.gov, jodi.anton@usdoj.gov), Magistrate Judge Patrick M. Hunt
    (hunt@flsd.uscourts.gov)
    −−Non Case Participants:
    −−No Notice Sent:

    Message−Id:17914589@flsd.uscourts.gov
    Subject:Activity in Case 0:18−mj−06389−PMH USA v. Cardozo Set/Reset          Deadlines/Hearings
    Content−Type: text/html

                                              U.S. District Court

                                          Southern District of Florida

    Notice of Electronic Filing


    The following transaction was entered on 8/23/2018 at 4:25 PM EDT and filed on 8/23/2018

     Case Name:       USA v. Cardozo
     Case Number:     0:18−mj−06389−PMH
     Filer:
     Document Number: No document attached
    Docket Text:
     Reset Hearings as to Byron Cardozo: **TIME CHANGE ONLY** Detention Hearing RESET for
    8/28/2018 AT 10:00 AM in Fort Lauderdale Division before FTL Duty Magistrate. Removal
    Hearing RESET for 8/28/2018 AT 10:00 AM in Fort Lauderdale Division before FTL Duty
    Magistrate. (at)


    0:18−mj−06389−PMH−1 Notice has been electronically mailed to:

    Jodi Anton &nbsp &nbsp jodi.anton@usdoj.gov, CaseView.ECF@usdoj.gov, jason.bullard@usdoj.gov,
    Jennifer.M.Smith2@usdoj.gov

    0:18−mj−06389−PMH−1 Notice has not been delivered electronically to those listed below and will be
    provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 18-mj-06389-PMH
                                  (D. Mass. Case No. 18-CR-10251)


   UNITED STATES OF AMERICA

   v.

   BYRON CARDOZO,

                         Defendant.


                           NOTICE OF FILING FACTUAL PROFFER

        The United States hereby gives notice of its filing of the attached factual proffer in support

   of its motion for pre-trial detention of Byron Cardozo.

                                                  Respectfully submitted,

                                                  BENJAMIN G. GREENBERG
                                                  UNITED STATES ATTORNEY

                                            By: /s Jared M. Strauss
                                                JARED M. STRAUSS
                                                ASSISTANT UNITED STATES ATTORNEY
                                                Court ID No. A5501264
                                                500 E. Broward Blvd., Suite 700
                                                Ft. Lauderdale, Florida 33394
                                                (954) 356-7255 (telephone)
                                                (954) 356-7336 (fax)
                                                jared.strauss@usdoj.gov




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 24th day of August, 2018, I electronically filed the

   foregoing document with the Clerk of the Court using CM/ECF.


                                                    /s Jared M. Strauss
                                                   JARED M. STRAUSS
                                                   Assistant United States Attorney




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 18-mj-06389-PMH
                                 (D. Mass. Case No. 18-CR-10251)

   UNITED STATES OF AMERICA

   v.

   BYRON CARDOZO,

                         Defendant.


                                       FACTUAL PROFFER

        In support of its motion for pre-trial detention of defendant Byron Cardozo, the United States

   proffers the following facts: Cardozo was indicted in the U.S. District Court of Massachusetts and

   charged with cyberstalking and making interstate threats, in violation of 18 U.S.C. §§ 2261A(2)(B)

   and 875(c), stemming from his extensive, multi-faceted harassment and threats campaign against

   a former school mate, a Massachusetts woman identified as Jane Doe 1. In 2001, Jane Doe 1 had

   a one-time, traumatic sexual encounter with Cardozo and Cardozo’s male friend, when Jane Doe

   1 was about 13 and Cardozo and his friend were about 17. In December 2016, Jane Doe 1, who

   is a writer and educator, wrote and had published in an online magazine an essay about the

   traumatic sexual encounter, using pseudonyms for Cardozo and others. In response, Cardozo

   launched an extensive, 18-month-long cyberstalking campaign against Jane Doe 1.

        As set forth in the 10-page speaking indictment, from February 2017 through the time of his

   arrest, Cardozo sent hundreds of online communications to Jane Doe 1, using multiple online

   names and platforms, many of which were posted in publically available forums. Most often,

   Cardozo posted to the “comments” section associated with Jane Doe 1’s essay on the online

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   magazine and, when that closed, he made posts on Jane Doe 1’s personal website. In those

   communications, Cardozo repeatedly claimed that Jane Doe 1 had fabricated the coercive nature

   of the sexual encounter; graphically described what he claimed was a consensual sexual encounter

   with Jane Doe 1; described private aspects of Jane Doe 1’s prepubescent body; claimed to be

   masturbating to her photographs; discussed her homosexuality; discussed her perceived wealth

   and privilege; professed his continued love for her; threatened to commit suicide because of her;

   and described his extensive and violent criminal history. Cardozo escalated his conduct over

   time, increasing his threats when Jane Doe 1 made attempts to protect herself through hiring civil

   attorneys, obtaining a state court order of protection, and informing Cardozo’s parole officer of his

   continued harassment in violation of that order.            Cardozo’s communications escalated

   significantly in April 2018, when Cardozo began making express and implied threats to injure Jane

   Doe 1. For example, on May 21, 2018, he stated: "You fucking bitch you keep this up and you

   will know what it means to be assaulted." "You are fucking done . . . YOU WILL KNOW FEAR

   TRUST ME . . . You will fucking find out what happens when you cry wolf bitch." On July 10,

   2018, he stated: “i will devote my miserable life to destroying yours . . . you think 2 hired thugs

   fucks cn [sic] stop me from giving you what you deserve????”1

        Cardozo attempted to hide his identity by using aliases and virtual private networks.

   Despite his efforts, law enforcement agents attributed the communications to Cardozo in two ways.

   First, the content of the communications themselves several times referenced events that had


        1
           In June 2018, after Cardozo’s community control expired, Jane Doe 1’s family hired a
   private investigator to monitor Cardozo’s whereabouts in case he traveled to Massachusetts.
   Unbeknownst to Jane Doe 1, the private investigator(s) confronted Cardozo at his home in
   Jacksonville and a physical altercation ensued. There is an ongoing investigation in Jacksonville.


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   occurred with Cardozo (e.g. communications made to his parole officer).           Second, digital

   evidence also confirmed that Cardozo is responsible for the harassing communications.

   Specifically, on April 14, 2018, Cardozo used his own home internet connection, SBC Global, to

   post a comment to the online magazine with Jane Doe 1’s article. Further, records from Amazon

   and Microsoft confirm that IP addresses that were used to anonymously make the harassing and

   threatening posts on the online magazine were also being used by Cardozo to log into other online

   accounts in his own name. Finally, the investigation established that, with the exception of the

   mistakes noted above, Cardozo generally used a virtual private network (“VPN”) called Express

   VPN to make the posts anonymously, and when agents executed the search warrant on August 23,

   2018, they observed a computer running Express VPN.

        Cardozo is transient, having moved to Broward County only days ago. He has an extensive

   criminal history, with numerous felony convictions, including battery, assault, grand theft,

   burglary with assault or battery, and possession of illegal substances and paraphernalia. In May

   2014 he was found to be a “habitual felony offender” by a judge in Broward County. He has

   repeatedly violated his terms of probation and has served at least two year-long prison sentences.

   In November 2016, a juvenile’s mother obtained a final “injunction for protection against repeat

   violence” against Cardozo in Broward County, which Cardozo violated by February 2018.

   Cardozo was also convicted in December 2016 for battery of a licensed security officer in Broward

   County and placed on 18 months of community control, which expired in June 2018. During that

   period of community control, Cardozo engaged in the cyberstalking and threats campaign charged

   in the Indictment. Although Cardozo is a convicted felon, agents observed Cardozo firing various

   weapons on or about August 17, 2018, at a gun range in Deerfield Beach.


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          UNITED STATES DISTRICT COURT FOR SOUTHERN DISTRICT OF FLORIDA **COURT ORDER/MINUTES**
                 U.S.MAGISTRATE JUDGE BARRY S.SELTZER -FORT LAUDERDALE, FLO RIDA ROOM 110

  DEFT: BYRON CARDOZO (J)#l9068-104                                    CASE NO: 18-6389-11> 1'
  A USA : J.STRAU SS                                                   ATTY :
  U SPO :
                                                                      V IO L:
                                                                                 l8:U.S.C.j226l
  PROCEEDING: REPORT RE COUNSEL                                       RECO M M EN DED BON D:

  BOND/PTD HEARING HELD -yes/no                             COUNSEL APPOINTED: FPD:JAN SM ITH PRESENT

  BOND SET@ : NO BOND HEARING                                         Tobecosignedby:
 Q         AIlstandard conditions                                      DEFENDANT PRESENT IN CO URT W ITHOUT COUNSEL

 (
 a         Donotencumbcr propcrty.                                     REQUEST COURT TO APPOINT AN ATTORNEY

 1          Surrenderand/ordo notobtain passpol'ts/traveldocuments.     SW ORN/TEST.FEDERAL PUBLIC DEFENDER'S OFFICE
 Q          RpttoPTS asdirected/ or- x'saweek/month by phone;-
           x'saweel
                  k/month inperson.                                    APPOINTED. JAN SM ITH PRESENT.
 E
 D          Random urinetesting by PretrialServices,
           Treatmentasdeemed necessary.                                DEFENDANT W AIVED REM OVAL,SIGNED W AIVER IN
 t
 a          M aintain orseck full-timeemployment.                      OPEN COURT.DEFERRING BOND HEARING UNTIL HIS
 1:1        No contactwith victims/witnesses.                          RETURN TO M ASSACHUSETTS. COURT FINDS GOOD
 Q         No firearlns.                                               CAUSE TO DEFER PTD HEARING UNTIL HlS RETURN
 Q          El
             ectronic M enitoring:                                     TO OTHER DISTRICT. DEFENDANT HAS HIS RIGH T TO
           Travelextendedto:                                           BO
                                                                            ND HEARING IN M ASSACHUSETTS.COM M ITM ENT
 Q         Other:                                                      O RDER SIGNED .

 NEXTCOURT APPEAM NCE:                    DATE:                       TIM E:                JUDGE:             PLACE:

 REPORT RE
 C OUN SEL:
 PTD/BON D
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           8/27/18         TIME: 11:00 AM           FTL/TAPE/#                             Begin D A R
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A**THE TIM E FROM TODAY THROUGH THE RE-SCHEDULED DATE IS EXCLUDED FROM THE DEADLINE FOR TRIAL AS
COM PUTED UNDER THE SPEEDY TRIAL ACT ****** YES O R NO DAR:11:06:22-11:09:30 RECALLED 11:23:46-11:27:05
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Case 0:18-mj-06389-PMH
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                        UN ITED STA TES D ISTR IC T C O U R T
                                            FO R THE

                                SO UTH ERN DISTRICT O F FLO RIDA



                                                           CaseN o:l8-6389-14UN -1-
                                                           Y ourCaseN o:18-CR-10251
   U nited States ofA m erica

          VS                                           W AIV ER O F R EM O V AL H EAR ING
                 t:
   Byroncardo' ,'
   I ,Byron Cardoso charged in a proceeding on a lndictm entfiled in the D istrictof
   M assachusettsinviolation of18:U.S.C.j2261A(2)(B)Cyberstalkingand 18:U.S.C.j875(c)
   InterstateThreatsandhavingbeenarrestedintheSouthernDistrictofFlorida(Fort
   Lauderdale)andtakenbeforeUnited StatesM agistrateJudgeBarryS.Seltzer,forthat
   district,who informedm eofthechargeandofmy righttoretain counselorrequesttheassignm ent
   ofcounselifIam unableto retain counsel,and to have aremovalhearing orexecute awaiver
   thereof,do hereby waive ahearing beforetheaforementioned M agistrateJudgeand consenttothe
   issuance ofaW arrantform y RemovaltotheDistrictofM assachusettswherethe aforesaid
   charge ispending againstm e.


   A ugust 27th, 2018                              K                                      --
                                                                Signatureofdefendant




   Bar S.S       e
   United States      istrateJu ge(8/27/18)

   cc:A l1Counsel




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             BYRON CA RD OZO

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 charging aviolationof l8                           U.S.
                                                       C.j2261AND j875(c)
D ISTR ICT O F O FFENSE:
DISTRICT O FM ASSA CH USETTS
CYBERSTALKING AND INTERSTATE THREATS



CURRENT BOND STATUS:
   Z Bailfixedat                           andconditionswerenotmet
   Z GovernmentmovedfordetentionanddefendantdetainedafterhearinginDistrictofArrest
       Governmentmoved fordetentionand defendantdetainedpendingdetentionhearing inDistrictofOffen
       Other(specify)                                                                                        se
Representation: Z RetainedOwnCounsel                 FederalDefenderOrganization            Z CJA Attorney     Z None
InterpreterRequired? Z No                         Yes    Language: ENGLISH
                                                                              SO UTHERN DISTR ICT O F FLOR IDA
       TO:THE UN ITED STATES M ARSHAL
           You arehereby comm anded to takecustodyoftheabovenam ed defendantand to transportthat
       defendantwith a certified copy ofthiscomm itm entforthwith tothedistrictofoffense asspecified above
       and theredeliverthe defendantto the Unite tatesM arshalforthatDistrictorto some otherofficer
       auth rized t receive the defendant.
                 RDatet )%                                              U ' d tatesJudge or       gitrate Judge

                                                               RETURN
Thiscom m itm entwasreceived and executed asfollows:
DATECOMM ITMENTORDER RECEIVED                   PLACEOFCOM MITM ENT                       DATE DEFENDANT COM M
                                                                                                                  ITTED



DATE                                            UNITED STATESMARSHAL                      (BY)DEPUTY MARSHAL




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